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                IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF TEXAS

 WILLIAM T. MOCK; CHRISTOPHER
 LEWIS;      FIREARMS            POLICY
 COALITION, INC., a nonprofit corporation,

                                  Plaintiffs,
        v.

 MERRICK GARLAND, in his official
 capacity as Attorney General of the United       Civil Action No. 3:23-cv-232
 States;      the    UNITED         STATES
 DEPARTMENT OF JUSTICE; STEVEN
 DETTELBACH, in his official capacity as
 Director of the Bureau of Alcohol, Tobacco,
 Firearms and Explosives; and the BUREAU
 OF ALCOHOL, TOBACCO, FIREARMS
 AND EXPLOSIVES,

                                  Defendants.


                        NOTICE OF RELATED CASES

      Plaintiffs William T. Mock; Christopher Lewis; and Firearms Policy

Coalition, Inc., hereby submit the following notice of related cases pursuant to Local

Rule 3.3. At the time of filing, Plaintiffs are not aware of any related cases

challenging Defendants’ Factoring Criteria for Firearms with Attached “Stabilizing

Braces”, 88 Fed. Reg. 6,478 (Jan. 31, 2023).




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                               Respectfully submitted,

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